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                                                                               Seth L. Levine 
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May 17, 2018 
 
VIA ECF 
Honorable Colleen McMahon 
Chief United States District Judge 
Daniel Patrick Moynihan United States Courthouse 
500 Pearl Street 
New York, New York 10007‐1312 
 
        Re:     United States v. Connolly, et al., No. 16‐cr‐00370  

Dear Chief Judge McMahon: 

         We  respectfully  submit  this  letter  on  behalf  of  Defendants  Matthew  Connolly  and  Gavin 
Campbell Black pursuant to the Court’s order dated May 15, 2018 [Dkt. No. 262 at 13], concerning the 
trial schedule.  Defendants respectfully agree that an adjournment of the trial is necessary.    
                                                  
                                                 Respectfully submitted, 
                                                  
                                                 Levine Lee LLP 
                                                  
                                                 /s/ Seth L. Levine             
                                                 Seth L. Levine 
                                                 Scott B. Klugman 
                                                 Miriam L. Alinikoff 
                                                 Counsel to Defendant Gavin Campbell Black 
                                                  
                                                 Paul Hastings LLP 
                                                  
                                                 /s/ Kenneth M. Breen             
                                                 Kenneth M. Breen 
                                                 Phara A. Guberman 
                                                 Jane H. Yoon 
                                                 (electronically signed with permission) 
                                                 Counsel to Defendant Matthew Connolly 
                                                  
cc:  All parties (via ECF) 
